         Case 1:20-cv-05441-KPF Document 234 Filed 10/16/20 Page 1 of 2




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

Uniformed Fire Officers Association, et al.,
                    Petitioners/Plaintiffs,
                                                          Case No. 1:20-cv-05441-KPF
                -against-
Bill de Blasio, in his official capacity as Mayor of
the                                                       INTERVENOR-DEFENDANT
City of New York, et al.,                                 COMMUNITIES UNITED FOR
                    Respondents/Defendants                POLICE REFORM’S NOTICE OF
                                                          MOTION TO DISMISS
                -against-
Communities United for Police Reform,
                Intervenor-
                Respondent/Defendant.




        PLEASE TAKE NOTICE that upon this Notice of Motion to Dismiss and the

accompanying Memorandum of Law In Support of Intervenor-Defendant Communities United

for Police Reform’s Motion to Dismiss, Intervenor-Defendant Communities United for Police

Reform will move this Court, before the Honorable Katherine Polk Failla, United States District

Judge, Southern District of New York, at 500 Pearl Street, New York, New York, on a date and

time to be set by the Court, for an Order, pursuant to Rule 12(b)(6) of the Federal Rules of Civil

Procedure, dismissing the First Amended Complaint in its entirety and with prejudice, on the

grounds that Plaintiffs fail to state a claim.
        Case 1:20-cv-05441-KPF Document 234 Filed 10/16/20 Page 2 of 2




Dated: New York, New York
       October 16, 2020, 2020

                                        Respectfully submitted,

                                        Orrick, Herrington & Sutcliffe LLP



                                        By: /s/ Alex V. Chachkes

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   Darius Charney                     Rene Kathawala
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